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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

  LINELL LOWE,
      Petitioner,

  v.                                          Case No. 6:17-cv-98-Orl-31DCI

  UNITED STATES OF AMERICA,
      Respondent.

                  UNITED STATES’ RESPONSE TO LOWE’S
                  PROPOSAL FOR FINAL ADJUDICATION

        This Court ordered the United States to respond to Petitioner Linell

  Lowe’s Proposal for Final Adjudication. Civ. Docs. 21, 24, 25.1 Pursuant to

  United States v. Davis, 139 S. Ct. 2319 (2019), the United States concedes that

  Lowe is entitled to relief from his conviction for brandishing a firearm during

  and in relation to a conspiracy to commit a Hobbs Act Robbery. See Doc. 32 at

  2–3. The United States requests that this Court set this matter for a resentencing.

                           MEMORANDUM OF LAW

  I.    PROCEDURAL BACKGROUND

        On December 11, 2013, a federal grand jury in the Middle District of

  Florida returned a two-count indictment charging Lowe and two other

  defendants with (1) conspiracy to commit a Hobbs Act robbery, in violation of

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   Filings in criminal case number 6:13-cr-306-Orl-31DCI are cited as “Doc. [document
  number].” Filings in the present civil proceeding are cited as “Civ. Doc. [document
  number].”
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  18 U.S.C. § 1951; and (2) brandishing a firearm during and in relation to the

  conspiracy, in violation of 18 U.S.C. §§ 924(c)(1)(A)(ii) and 2. Doc. 32. Lowe

  proceeded to trial and was found guilty of both counts. Doc. 121. This Court

  sentenced him to 184 months’ imprisonment, which consisted of 100 months as

  to count one followed by 84 months as to count two. Doc. 166 at 2.

         On May 15, 2017, Lowe filed an amended motion to vacate, set aside, or

  correct his sentence, under 28 U.S.C. § 2255. Civ. Doc. 4-1. Lowe argued in

  part that the residual clause under 18 U.S.C. § 924(c)(3)(B) is unconstitutionally

  vague, meaning that his conviction under § 924(c) based on a conspiracy charge

  could not stand. Id. at 4. The United States responded in opposition to that

  motion, Civ. Doc. 10, and Lowe filed a reply, Civ. Doc. 17. This Court then

  held Lowe’s motion in abeyance pending an Eleventh Circuit decision about

  the constitutionality of the residual clause. The Court has now reopened this

  matter, Civ. Doc. 25, and the United States agrees Lowe’s § 2255 motion is ripe

  for adjudication.2

  II.    LEGAL AUTHORITY

         Davis held that 18 U.S.C. § 924(c)(3)(B)’s residual clause was



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    In his § 2255 pleading, Lowe also asserted that his counsel was ineffective for failing
  to raise a challenge based on chain of custody issues and that the United States
  knowingly submitted false testimony from one of his codefendants. Civ. Doc. 4-1 at 5,
  7, 8. Those claims are due to be denied for the reasons set out in the United States’
  response in opposition. See Civ. Doc. 10.



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  unconstitutionally vague because the clause “provides no reliable way to

  determine which offenses qualify as crimes of violence.” 139 S. Ct. at 2324.

  Davis applies to this case because the jury found Lowe guilty of conspiracy to

  commit Hobbs Act robbery, which served as the supporting predicate offense

  for his § 924(c) conviction. See Doc. 166 at 1. And the United States concedes

  after Davis that conspiracy to commit Hobbs Act robbery qualifies as a “crime

  of violence” only under § 924(c)(3)(B)’s residual clause. Cf. In re Pinder, 824 F.3d

  977, 979 n.1 (11th Cir. 2016) (stating, pre-Davis, that “law is unsettled”

  regarding whether section 924(c) conviction based on conspiracy to commit

  Hobbs Act robbery can survive Johnson). Thus, Lowe is entitled to relief from

  his conviction for 18 U.S.C. § 924(c).

        The proper relief in this case is the vacatur of Lowe’s conviction on count

  two and resentencing on count one. Count one carries a maximum sentence of

  20 years’ imprisonment. The 184-month term of imprisonment in this case was

  part of a sentencing package that took into account the mandatory consecutive

  term on the § 924(c) count, so this Court should now have the opportunity to

  resentence Lowe to the same term of imprisonment on the remaining count. See

  Dean v. United States, 137 S. Ct. 1170, 1178 (2017) (court may take consecutive

  § 924(c) sentence into account when selecting sentence for the predicate count).

  Further, the guidelines calculation for Lowe’s Hobbs Act conspiracy count will




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  now be different due to the enhancement of his guidelines range for brandishing

  a firearm. See Doc. 141 (PSR) at ¶ 34.

          The United States requests that this Court hold that Lowe is entitled to

  relief in light of Davis and grant his § 2255 motion to the extent that it challenges

  his conviction and sentence under § 924(c). The United States also requests that

  this Court set this matter for resentencing on count one, conspiracy to commit

  Hobbs Act robbery.

                                               Respectfully submitted,

                                               MARIA CHAPA LOPEZ
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                          CERTIFICATE OF SERVICE

        I hereby certify that on September 4, 2019, a true and correct copy of the

  foregoing document and the notice of electronic filing were sent by United

  States Mail to the following non-CM/ECF participant:

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